
65 N.Y.2d 990 (1985)
Shoreham-Wading River Central School District, Respondent,
v.
Town of Brookhaven et al., Appellants. (Action No. 1.)
In the Matter of Rita Rech et al., Appellants-Respondents,
v.
Henrietta Acampora, as Supervisor of the Town of Brookhaven, et al., Respondents-Appellants. (Action No. 2.)
Court of Appeals of the State of New York.
Submitted June 17, 1985.
Decided September 3, 1985.
Judge TITONE taking no part.
Motion to dismiss cross appeal taken by respondents-appellants Acampora et al. in Matter of Rech v Acampora granted and cross appeal dismissed, without costs, upon the ground that the order appealed from does not finally determine the action within the meaning of the Constitution.
On the court's own motion, appeals in both actions dismissed, without costs, upon the ground that the order appealed from does not finally determine the proceedings within the meaning of the Constitution.
